           Case 2:12-cr-00016-RAJ         Document 30        Filed 01/09/12     Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             CASE NO. MJ 11-614
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   DEZI-RAY THOMAS ARNEZ LOUIE,         )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Murder in the First Degree

15 Date of Detention Hearing:     January 9, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is charged with unlawfully killing or aiding and abetting the unlawful



     DETENTION ORDER
     PAGE -1
           Case 2:12-cr-00016-RAJ          Document 30        Filed 01/09/12      Page 2 of 3




01 killing of an individual on tribal trust lands on the Lummi Indian Reservation in the course of

02 commission of a robbery.

03          2.      Defendant was not interviewed by Pretrial Services. He does not contest entry

04 of an order of detention.

05          3.      Defendant poses a risk of nonappearance due to lack of verified background

06 information and a history of failing to appear, as well as a history of failing to comply with court

07 ordered supervision. He poses a risk of danger due to criminal history and the nature and

08 circumstances of the instant offense.

09          4.      There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the

11 danger to other persons or the community.

12 It is therefore ORDERED:

13      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

14          General for confinement in a correction facility separate, to the extent practicable, from

15          persons awaiting or serving sentences or being held in custody pending appeal;

16      2. Defendant shall be afforded reasonable opportunity for private consultation with

17          counsel;

18      3. On order of the United States or on request of an attorney for the Government, the

19          person in charge of the corrections facility in which defendant is confined shall deliver

20          the defendant to a United States Marshal for the purpose of an appearance in connection

21          with a court proceeding; and

22      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel



     DETENTION ORDER
     PAGE -2
         Case 2:12-cr-00016-RAJ         Document 30        Filed 01/09/12      Page 3 of 3




01       for the defendant, to the United States Marshal, and to the United State Pretrial Services

02       Officer.

03       DATED this 9th day of January, 2012.

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05                                                     A
                                                       Mary Alice Theiler
06                                                     United States Magistrate Judge

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     DETENTION ORDER
     PAGE -3
